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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York


                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278

                                                      November 13, 2024

By ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Robert Menendez, Wael Hana, and Fred Daibes,
               S4 23 Cr. 490 (SHS)

Dear Judge Stein:

        The Government respectfully writes in the above-captioned matter to notify the Court that,
due to an error recently discovered by the Government, incorrect versions of nine Government
Exhibits were loaded on the laptop the parties jointly provided to the jury for use in its
deliberations. These exhibits were each the subject of the Court’s May 24, 2024 ruling (the “May
24 Ruling”) excluding certain evidence on the basis of the Speech or Debate Clause. As explained
below, the jury laptop was inadvertently loaded with alternative versions that contained the
redactions the Government sought in its motion for reconsideration of that ruling (which the Court
denied), not the versions that contained broader redactions pursuant to the May 24 Ruling. Neither
counsel for the Government nor counsel for the defendants, who had access to and inspected the
exhibits on the laptop in advance of their provision to the jury, noticed the error at the time, and
the error did not affect the relevant summary chart covering these documents, which was the
correct and properly admitted version.

        As explained below, no action need be taken in light of the error, because, among other
reasons, any objection was waived by defense counsel’s inspection of the exhibits that were
provided to the jury; the Government never referred to or displayed to the jury any incorrect
versions of the exhibits; there is no reasonable likelihood any juror ever saw any of the erroneously
less-redacted versions; and, in any event, those versions, which do not reference any legislative
act and which were of secondary relevance and cumulative with abundant properly admitted
evidence, could not have prejudiced the defendants even if they were ever seen.
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       I.      The Court’s Ruling and the Presentation of Evidence

         On May 24, 2024, the Court issued the May 24 Ruling, striking certain line entries of one
of the Government’s summary charts, as well as underlying exhibits, on the basis of the Speech or
Debate Clause. (See Dkt. 420.) The Government analyzed the May 24 Ruling and determined
that it implicated, in addition to the summary chart (Government Exhibit 1302), the content of
certain underlying exhibits beyond those expressly specified in the May 24 Ruling (collectively
the “Implicated Exhibits”). That day, the Government sought reconsideration or clarification of
the May 24 Ruling, seeking to introduce a version of the summary chart marked as Government
Exhibit 1302, and of underlying exhibits, which redacted only the reference to a purported
legislative act. (See Dkt. 421 (motion for reconsideration); Dkt. 423 (reply in support of motion
for reconsideration).)

        On May 27, 2024, while the motion for reconsideration was pending, the Government
produced to the defendants two alternate sets of the Implicated Exhibits, to allow the parties to
proceed with the presentation of evidence promptly after the Court ruled on the motion for
reconsideration. The first set were exhibits with redactions pursuant to the May 24 Ruling, in the
event reconsideration was denied (the “May 24 Ruling Versions”). The second set were exhibits
intended to be used in the event the Court granted reconsideration and accepted the Government’s
proposed redactions (the “Reconsideration Versions”). As relevant here, the Government
produced to all defendants both the May 24 Ruling Versions and the Reconsideration Versions of
nine underlying exhibits (Government Exhibits A103-10, A120, B207-1, C207-8, C207-8T, C207-
9, C207-9T, C602, and D207-3), as well as of Government Exhibit 1302.

        On May 28, 2024, the Government offered Government Exhibit 1302 and the Implicated
Exhibits, which were received pending the ruling on the motion for reconsideration. (Tr. 1169-
70, 1175.) On May 29, 2024—before any content relevant to the May 24 Ruling was presented to
the jury—the Court denied the motion for reconsideration. (Tr. 1343.) Accordingly, the May 24
Ruling Versions (and not the Reconsideration Versions) of the Implicated Exhibits were admitted
in evidence.

       The Government displayed and asked witnesses to read to the jury portions of the admitted
May 24 Ruling Version of Government Exhibit 1302, the summary chart. The jurors were never
exposed, at any point during the presentation of trial evidence or jury addresses, to any of the
Reconsideration Versions of any of the Implicated Exhibits. Indeed, although the Government
displayed the correct and properly-admitted version of the summary chart to the jury, the
Government never showed any versions of the Implicated Exhibits themselves to the jury in its
presentation of trial evidence or its jury addresses, and neither did any of the defendants.

       II.     The Submission of Government and Defense Exhibits to the Jury

       In assembling a set of the admitted exhibits to be loaded onto a laptop to be jointly provided
by the parties to the jury, the Government inadvertently included in the materials the
Reconsideration Versions, rather than the admitted May 24 Ruling Versions, of nine of the
underlying Implicated Exhibits. Neither the Government counsel nor, to the Government’s
knowledge, any defense counsel—who, as detailed below, had and took an opportunity to inspect
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the exhibits and the laptop—noticed that the incorrect versions of these exhibits were included on
the laptop.

        In advance of the submission of exhibits to the jury, the Government gave defense counsel
an opportunity, over several days, to inspect the exhibits the Government proposed to submit on
the laptop, which each defense team took. At approximately 5:39 p.m. on Wednesday, July 10,
2024, the Government uploaded to a file-sharing platform for defendants what it believed to be the
final set of admitted Government Exhibits, and asked the defendants to inform the Government if
this set reflected the defense teams’ internal versions so that it could be ready to be loaded on a
laptop for the jury. 1 This set of Government Exhibits had the same versions of the Implicated
Exhibits that were loaded onto the jury’s laptop. Members of the Government team then met with
members from each of the defense trial teams and reviewed the contents of the laptop itself. As a
result of this process, the finalized set of documents loaded onto the jury’s laptop was agreed to
by shortly after noon on Friday, July 12, 2024, as the Government informed the Court on the record
later that day. (See Tr. 7165 (“And in addition, let me note the laptop is available. It has been
inspected by all defense counsel. It’s being provided by our paralegals, so that’s ready to go.”).)

        The jury’s laptop was loaded with 2,549 Government Exhibits, 387 defense exhibits
introduced by Robert Menendez, and 138 defense exhibits introduced by Wael Hana. The version
of Government Exhibit 1302—the summary chart covering the Implicated Exhibits, which was
displayed for and portions of which were read to the jury during trial—that was loaded onto the
jury’s laptop was the correct and properly admitted version. However, the Government recently
discovered that as to nine of the exhibits underlying that summary chart, the Reconsideration
Versions (attached hereto as Exhibits A-1 through I-1) were inadvertently loaded onto the jury’s
laptop instead of the admitted May 24 Ruling Versions (attached hereto as Exhibits A-2 through
I-2). There were three substantive differences between the versions provided on the laptop and
the versions in evidence.

       •   First, several of the Reconsideration Versions included a text message that consisted,
           in its entirety, of the text “https://amp.cnn.com/cnn/2022/01/25/politics/us-arms-sales-
           egypt/index.html”, as well as, in one version, a thumbnail of the CNN logo and a
           thumbnail picture of the President of Egypt. (See Ex. A-1 (GX A103-10
           Reconsideration Version); Ex. B-1 (GX A120 Reconsideration Version); Ex. H-1 at 74
           (GX C602 Reconsideration Version).) In the admitted versions of those exhibits, this
           link was redacted (along with the thumbnails). (See Ex. A-2 (GX A103-10 admitted
           version); Ex. B-2 (GX A120 admitted version); Ex. H-2 at 74 (GX C602 admitted
           version).) Neither the Government nor the defendants referenced the sending of this
           text message in their jury addresses.




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  In a reflection of the document-intensive nature of the trial, the parties had previously
encountered an issue where each party believed a different version of a particular Government
Exhibit was in evidence, and thus were alert to the need to ensure that the parties agreed on which
versions of the parties’ exhibits were in evidence. (See Tr. 6160-66.)
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       •      Second, one of the Reconsideration Version exhibits included a text message that was
              redacted to state only “I’m sending you an article.” (See Ex. C-1 (GX B207-1
              Reconsideration Version).) In the admitted version, “I’m sending you an article” was
              also redacted. (See Ex. C-2 (GX B207-1 admitted version).) Neither the Government
              nor the defendants referenced the sending of this text message in their jury addresses.

       •      Third, several of the Reconsideration Version exhibits included a text message that was
              redacted to read only “Director office of Egyptian affairs in state department ‘Kathryn
              Kiser’ told our DCM today [redacted] a billion $ of usaid to Egypt before the recess
              !!!!”. (See Ex. D-1 at 1-2 (GX C207-8 Reconsideration Version); Ex. E-1 at 1 (GX
              C207-8T Reconsideration Version); Ex. F-1 at 5-6 (GX C207-9 Reconsideration
              Version); Ex. G-1 at 6-7 (GX C207-9T Reconsideration Version); Ex. I-1 at 1 (GX
              D207-3 Reconsideration Version).) 2 This message was quoted or forwarded in several
              text messages, but in each case with those redactions. In the admitted version, this
              sentence was omitted or redacted in its entirety. (See Ex. D-2 at 1 (GX C207-8 admitted
              version); Ex. E-2 (GX C207-8T admitted version); Ex. F-2 at 5-6 (GX C207-9 admitted
              version); Ex. G-2 at 6-7 (C207-9T admitted version).) Neither the Government nor the
              defendants referenced the sending of this text message in their jury addresses. The
              Government in its summation displayed and briefly referenced portions of the properly
              redacted summary chart summarizing other text messages sent near the time of this
              message, which were sourced to other, properly admitted, portions of the Implicated
              Exhibits (Tr. 6400-01), and no defendants referenced any of those messages, or any
              part of the Implicated Exhibits, in their jury addresses at all.

        The jury returned a guilty verdict on all counts after deliberation spanning three days and
taking somewhat less than two trial days of time. None of the notes it sent indicated any focus on
any of the foregoing messages, or indeed on any counts to which the Implicated Exhibits appeared
to be relevant.

       III.      No Action is Warranted by The Inadvertent Inclusion of Reconsideration
                 Versions of Exhibits on the Jury Laptop

       The law and record make clear that the inadvertent erroneous inclusion of nine
Reconsideration Versions of exhibits on the laptop furnished to the jury, which all parties reviewed
and to which no party objected, is not a ground for upsetting the verdict.

                 1. Applicable Law

        “‘[D]efense counsel is as responsible as the prosecutor for seeing to it that only proper
exhibits are sent to the jury room, and normally the failure of counsel to register a timely objection
to the submission of improper evidence to the jury will be deemed a waiver, unless it is shown that
the evidence was so prejudicial that the defendant was denied a fair trial.’” United States v. Stasiv,

2
  The fully unredacted version of this message, which referenced an individual’s belief that
Menendez had taken an act, was not included on the jury’s laptop and the jury was never exposed
to it in any way.
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No. 19-4286, 2021 WL 4888865, at *2 (2d Cir. Oct. 20, 2021) (quoting United States v.
Camporeale, 515 F.2d 184, 188 (2d Cir. 1975)); see also, e.g., United States v. Jefferys, No. 20-
3630, 2022 WL 9627085, at *3 (2d Cir. Oct. 17, 2022) (citing Camporeale); United States v.
O’Brien, No. 13 Cr. 586 (RRM), 2017 WL 2371159, at *13 (E.D.N.Y. May 1, 2017) (“Here,
O’Brien failed to register a timely objection and accordingly, O’Brien waived any objection to the
submission of the Jones testimony transcript.”); Barnett v. United States, 870 F. Supp. 1197, 1205
(E.D.N.Y. 1994) (“In the instant case, petitioner’s counsel made no objection to the submission of
the improper evidence to the jury. Therefore, any objection to the submission of the evidence was
waived.” (citation omitted)).

        Even leaving aside a waiver, “[a]lthough a defendant’s Sixth Amendment rights are
implicated and prejudice is presumed when a jury is exposed to extra-record evidence, ‘that
presumption may be rebutted by a showing that the extra-record information was harmless.’”
Jefferys, 2022 WL 9627085, at *3 (quoting United States v. Farhane, 634 F.3d 127, 168 (2d Cir.
2011)); see also United States v. Schwarz, 283 F.3d 76, 99 (2d Cir. 2002) (“[N]ot every instance
of a juror’s exposure to extrinsic information results in the denial of a defendant’s right to a fair
trial. Many such instances do not.”). The Second Circuit has repeatedly stated that “[t]he
touchstone of decision is thus not the mere fact of infiltration of some molecules of extra-record
matter but the nature of what has been infiltrated and the probability of prejudice.” Bibbins v.
Dalsheim, 21 F.3d 13, 16 (2d Cir. 1994) (internal quotation marks and ellipses omitted).

         To determine if the presumption is rebutted, a court considers “(1) the nature of the
information or contact at issue, and (2) its probable effect on a hypothetical average jury.”
Farhane, 634 F.3d at 169. In making an objective assessment of possible prejudice, the “trial court
should assess the possibility of prejudice by reviewing the entire record, analyzing the substance
of the extrinsic evidence, and comparing it to that information of which the jurors were properly
aware.” United States v. Weiss, 752 F.2d 777, 783 (2d Cir. 1985) (internal quotation marks
omitted). A court “may properly conclude that such extra-record information was non-prejudicial
if it determines that an abundance of properly admitted evidence relevant to this matter exists.”
Id.

         A trial court has “broad discretion in reviewing the issue of the prejudicial effect of the
infiltration of extra-record evidence into the deliberations of the jury,” id., and may inquire into
the “circumstances surrounding the jurors’ exposure to the information,” Farhane, 634 F.3d at
169, but “may not reach further to inquire into the subjective effect of the information on jurors’
mental processes or on the jury’s deliberations,” id.; see also Fed. R. Evid. 606(b). The Second
Circuit has cautioned that “post-verdict inquiries may lead to evil consequences: subjecting juries
to harassment, inhibiting juryroom deliberation, burdening courts with meritless applications,
increasing temptation for jury tampering and creating uncertainty in jury verdicts.” United States
v. Ianniello, 866 F.2d 540, 543 (2d Cir. 1989). While a hearing may be justified by “clear, strong,
substantial and incontrovertible evidence that a specific, non-speculative impropriety has
occurred,” id. (internal quotation marks and ellipsis omitted), such as specific evidence that jurors
actually “consulted extra-record information” in reaching their verdict, id., the Second Circuit has
affirmed, on plain error review, the denial of a mistrial without a hearing where the district court
concluded based on the circumstances that it “was highly likely that the jury did not view” a
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mistakenly submitted document and its “contents were either immaterial or already on the record
and therefore harmless.” United States v. Nkansah, 699 F.3d 743, 751 (2d Cir. 2012), abrogated
on other grounds by Loughrin v. United States, 573 U.S. 351, 366 & n.9 (2014).

               2. The Defense Waived Any Objection to Inclusion of the Reconsideration Exhibits
                  on the Laptop

        As an initial matter, the fact that no party objected to the inclusion of these exhibits on the
jury’s laptop itself is a ground for denying any request for a new trial in these circumstances. The
Second Circuit has held that “‘defense counsel is as responsible as the prosecutor for seeing to it
that only proper exhibits are sent to the jury room, and normally the failure of counsel to register
a timely objection to the submission of improper evidence to the jury will be deemed a waiver,
unless it is shown that the evidence was so prejudicial that the defendant was denied a fair trial.’”
Stasiv, 2021 WL 4888865, at *2 (quoting Camporeale, 515 F.2d at 188). As a result, courts in
situations such as these rely on the parties to make such objections and deny requests for new trials
where those objections are waived. See, e.g., O’Brien, 2017 WL 2371159, at *13 (“Here, O’Brien
failed to register a timely objection and accordingly, O’Brien waived any objection to the
submission of the Jones testimony transcript.”); Barnett, 870 F. Supp. at 1205 (“In the instant case,
petitioner’s counsel made no objection to the submission of the improper evidence to the jury.
Therefore, any objection to the submission of the evidence was waived.” (citation omitted)). Here,
all defense teams had and took the opportunity to review the jury exhibit set, which they had for
almost 48 hours (first the exhibits that the Government uploaded for defense counsel, and then the
laptop itself, both of which contained the Reconsideration Versions). As such, the defendants’
waiver is itself sufficient to warrant denying any request for a new trial, should any be made.

               3. There is No Indication that the Reeconsideration Versions of Any Exhibits Were
                  Seen by the Jury

        Even leaving aside waiver, a new trial would be inappropriate because the circumstances
indicate it is extraordinarily unlikely that any juror became aware of the Reconsideration Versions
of any of the exhibits during their deliberations. This is so for several reasons.

        First, the number of exhibits loaded on the jury’s laptop (over 3,000) makes it unlikely that
the jurors reviewed each one in their approximately two trial days of deliberation, particularly
given that an accurate and properly redacted summary chart covering the subject matter of the
Implicated Exhibits was admitted and included on the laptop. Indeed, the parts of the summary
chart citing properly admitted portions of a handful of the Implicated Exhibits were mentioned and
displayed only briefly in the Government’s summation (see Tr. 6400-01), the other Implicated
Exhibits were not mentioned to the jury in any way, and no version of any of the Implicated
Exhibits themselves was ever displayed to the jury.

       Second—unlike in a number of cases where the jury actually requests the erroneously
provided documents, see, e.g., O’Brien, 2017 WL 2371159, at *13—the jury in its notes gave no
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indication it had any questions about any of the facts related to those documents or indeed any
issues related to any of the counts to which those documents related. 3

        Third, even on those counts, these exhibits did not bear on any subject on which the parties
placed any significant emphasis in their summations. As noted above, the Government made only
a brief reference in one of its jury addresses to properly admitted portions of certain of the
Implicated Exhibits (Tr. 6400-01), and no defendant even bothered to respond in their jury
addresses. This lack of any real dispute makes it even more unlikely that the jurors would have
consulted the documents in an effort to address the points of dispute between the parties.

        The exceedingly low likelihood, given the circumstances of the trial, that any juror actually
became aware of or considered the Reconsideration Versions of any exhibits rebuts the
presumption of prejudice, as multiple Second Circuit cases recognize. See Jefferys, 2022 WL
9627085, at *3 (“Here, such a presumption is rebutted because there was no indication that the
jurors considered the evidence.”); United States v. Hansen, 369 F. App’x 215, 216 (2d Cir. 2010)
(“Here, the introduction of extra-record evidence was not prejudicial because there was no
indication that the jury actually considered it.”); Nkansah, 699 F.3d at 751 (holding no plain error
where “it was highly likely the jury did not view” the non-admitted document and that its contents
were harmless); see also Smithwick v. Walker, 758 F. Supp. 178 (S.D.N.Y. 1991) (“That the jury
took time and continued to deliberate for a full day after having the photographs speaks also of the
harmlessness of the error. Indeed, it was never determined whether any of the jurors saw the
photos for more than a few seconds if at all.”).

               4. Even if Seen by the Jury, the Reconsideration Versions of the Exhibits Could
                  Not Have Caused Any Prejudice

       Even if, contrary to all reasonable likelihood, the jury had actually reviewed the
Reconsideration Version exhibits among the thousands of exhibits on its laptop, there is no
reasonable possibility that they prejudiced the jury given the circumstances and context of the case.

        None of the erroneously unredacted text—i.e., a link (without the linked article) reading
“https://amp.cnn.com/cnn/2022/01/25/politics/us-arms-sales-egypt/index.html”, a text from
Nadine Menendez to Hana stating “I’m sending you an article,” and the highly redacted phrase
“Director office of Egyptian affairs in state department ‘Kathryn Kiser’ told our DCM today
[redacted] a billion $ of usaid to Egypt before the recess !!!!”—would plausibly have affected the
decision of any hypothetical average juror. They did not relate to any matter that was in any real
dispute between the parties. Indeed, the Government asked the jury to convict on all of the Egypt


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  Of course, the jury deliberations involved consideration not merely of the Egypt counts to which
the Reconsideration Version exhibits related (i.e., Counts One, Two, Three, Five, Six, Seven,
Eight, Fifteen, and Sixteen), but also counts involving the New Jersey Attorney General’s Office,
the New Jersey U.S. Attorney’s Office, Qatar, and obstruction of justice as well (i.e., other portions
of Counts, One, Two, and Three, as well as the entirety of Counts Four, Nine, Ten, Eleven, Twelve,
Thirteen, Fourteen, Seventeen, and Eighteen), rendering it vanishingly unlikely that the jury felt
the need to delve deeply into every document supporting the Egypt counts.
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counts on the basis solely of Menendez’s attempts to pressure the USDA, not even relying on
Egyptian aid at all. (Tr. 6395-400.)

        Moreover, without any explanation from a witness or argument from a party in summation,
the non-admitted portions of the Reconsideration Versions would have been meaningless and
impenetrable if a juror had seen them. By contrast, courts have found even extraneous documents
with an obvious facial prejudicial effect to be insufficiently prejudicial in the circumstances of the
case. See, e.g., Smithwick, 758 F. Supp. at 183 (finding no prejudice from submission to the jury
of extraneous photographs of murder victim, even while acknowledging that “No photograph of a
deceased person is going to be pleasant.”). Here, the extraneous portions of the documents,
without context or explanation, simply lacked any facial relevance or prejudicial effect at all.

       Even to the extent relevant, the Reconsideration Version exhibits were cumulative with
other admitted evidence, which, as noted in part in the Government’s post-trial memorandum,
included extensive evidence of statements by and requests to Menendez concerning military aid to
Egypt. (See, e.g., Dkt. 611 at 11-12, 18-24, 50-56.)

        Where, as here, extraneous documents are simply cumulative with admitted evidence, the
inference of prejudice is rebutted. See, e.g., Nkansah, 699 F.3d at 751 (affirming denial of new
trial where contents of document “were either immaterial or already on the record”); O’Brien,
2017 WL 2371159, at *13 (rejecting new trial where substance of allegedly incorrect document
was consistent with facts in the record). Indeed, the Second Circuit has affirmed the denial of a
motion for a mistrial without a hearing in a case where jurors actually considered extra-record
information about a fact “critical to the government’s case,” because that fact was “cumulative”
with “abundant properly admitted evidence” and not itself subject to dispute in summation. United
States v. Hillard, 701 F.2d 1052, 1064 (2d Cir. 1983). Here, where the facts at issue were so far
from “critical to the government’s case” that the Government urged the jury to convict without
even considering them (Tr. 6395-400), there is no basis for finding prejudice.

         Lastly, but no less importantly, the evidence of guilt in this case was overwhelming. As
discussed in detail in the Government’s memorandum of law in opposition to the defendants’ post-
trial motions (Dkt. 611 at 11-42, 48-66), there was far more than “an abundance of properly
admitted evidence,” Weiss, 752 F.2d at 783; see also, e.g., Stasiv, 2021 WL 4888865, at *2 & n.2
(finding extra-record evidence in jury room harmless, even while assuming it was covered by
district court’s ruling excluding evidence of prior criminal record, because of the overwhelming
evidence). That evidence, just on the Egypt counts, included testimony of Menendez’s staffers,
Hana’s employees, a public official Menendez tried to pressure, other Executive Branch official
witnesses, law enforcement witnesses involved in searches, a Senate ethics official, a jeweler
Menendez and Nadine Menendez used to liquidate gold bar bribes under false pretenses, and
voluminous documentary evidence including extensive text message, email, phone, and financial
evidence (see, e.g., Dkt. 611 at 11-25, 48-57), to say nothing of the other documentary, cooperator,
other witness, fingerprint expert, DNA expert, cell site expert, and other evidence that was offered
principally to prove other portions of the broader scheme (see id. at 25-42, 58-66). This is simply
not a case in which scant improperly redacted exhibits could possibly have caused any prejudice.
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               5. The Court’s Ruling Excluding the Reconsideration Version Exhibits Does Not
                  Render their Inadvertent Inclusion on the Jury Laptop Prejudicial

        The fact that these exhibits contained material that the Court had ruled inadmissible does
not affect the prejudice analysis. See, e.g., Stasiv, 2021 WL 4888865, at *2 & n.2 (finding extra-
record evidence in jury room harmless even while assuming it was covered by district court’s
ruling excluding evidence); United States v. Friedland, 660 F.2d 919, 928 (3d Cir. 1981)
(affirming denial of new trial where evidence covered by a ruling excluding certain categories was
provided to jury, but was “inconsequential when compared with” the rest of the evidence, citing
Camporeale); United States v. Strassman, 241 F.2d 784, 785-86 (2d Cir. 1957) (affirming
conviction and noting duty of counsel to check exhibits where a document, including portions
which had been excluded, was provided to the jury). As an initial matter, the exhibits included on
the jury laptop were not the documents that the Government had initially offered, and which the
Court excluded in its May 24, 2024 Ruling. Instead, they were a much more limited and redacted
subset of those exhibits that the Government offered in its motion for reconsideration, and although
the Court rejected the Government’s proposal to offer these as well, they present substantially
different issues from those the Government originally offered.

        The Court’s ruling excluding the Reconsideration Versions of the nine exhibits does not
necessitate the conclusion that, in the redacted form they were included on the laptop, they still
infringed on the Speech or Debate Clause. Indeed, in a surreply to the Government’s motion for
reconsideration proposing the Reconsideration Versions, Menendez did not (and could not) make
any substantial effort to argue that the Reconsideration Versions would in some way still reveal
Menendez’s acts, a possibility he briefly raised in a parenthetical without any supporting
argument. 4 Instead, he emphasized that if the redactions they contained did obscure reference to
legislative acts, the Reconsideration Versions would be confusing and lack probative value. (See
Dkt. 425 at 2 (“But if the proposed redactions actually obscured reference to Senator Menendez
and his legislative acts beyond the jury’s comprehension (a highly dubious proposition), then the
proposed exhibits would be stripped of any probative value, resulting only in juror confusion. The
government cannot have it both ways. Either the evidence is probative as to a legislative act, in
which case it is barred by the Speech or Debate clause, or it has no probative value in this case and
must be excluded.” (footnote omitted)).)

       In any event, none of the nine Reconsideration Version exhibits, in the form they were
loaded onto the jury laptop, makes any reference to any legislative act. Even in the exceedingly
unlikely circumstance in which a juror reviewed any or all of these documents, that juror would
lack any information about whether Menendez had or had not performed a legislative act. The
lone act of sending a link reading “https://amp.cnn.com/cnn/2022/01/25/politics/us-arms-sales-


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  In initially opposing the redactions, Menendez claimed that these redactions would still lead the
jury to assume an action by Menendez (Dkt. 422 at 2-3), but he all but abandoned this argument
after the Government pointed out that the evidence showed that the State Department, and not any
Member of Congress, was empowered to and did take actions that would create obstacles to the
provision of aid to Egypt, fatally undercutting any inference that Menendez would have or did do
so (see Dkt. 423 at 2 (citing Tr. 868, 873-76, 930)).
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egypt/index.html”, without the linked article, would not allow a juror to conclude that any arms
sale was concluded or rejected (even assuming that that would lead to the inference that Menendez
played a role), rather than any number of other reasons an article might discuss the topic of arms
sales to Egypt. Similarly, the Reconsideration Versions of the other messages—which in the
redacted form they were included on the laptop lacked any tie to any action by Menendez (or even
any action at all)—simply did not threaten the “independence of individual legislators,” consistent
with the Court’s reasoning in approving other redactions. United States v. Menendez, No. 23 Cr.
490 (SHS), 2024 WL 3014205, at *2 (S.D.N.Y. June 14, 2024) (“[T]he independence of individual
legislators is not threatened if the identities of those legislators are withheld from the relevant
documents.” (internal quotation marks omitted)). Even if the Court had been concerned that the
Reconsideration Versions of the exhibits could have been a component of some argument that
Menendez engaged in a legislative act, that concern is not implicated where the Reconsideration
Versions were not shown to the jury, let alone argued. Even in the implausible case where a juror
simply happened upon the Reconsideration Versions of the exhibits in deliberation, the juror would
not have any understanding of whether Menendez took or did not take a legislative act from the
face of these documents, which do not reference any act, let alone by Menendez.

         In sum, the exhibits on the jury laptop do not reference any legislative acts. The mere fact
that (in actuality but unknown to the jury) Menendez’s staff had taken legislative acts with respect
to these subjects is simply not relevant, because no evidence of those acts was presented. This
principle is the same one applied by the Court in overruling Menendez’s objection to the reference
to the text of Senate Bill 1102, a piece of legislation that (in actuality but unknown to the jury)
Menendez had taken a legislative act to advance. (See Tr. 3591-92 (Court’s ruling).)

        Even if the Reconsideration Versions of the exhibits had more squarely implicated
legislative acts, they would still not have been prejudicial, for the reasons stated above, even if the
defendants had not waived any objection to them in inspecting the jury laptop, and even if there
were any basis to believe any juror became aware of the contents of the non-admitted portions of
the exhibits in any way, none of which occurred. See, e.g., United States v. Johnson, 383 U.S.
169, 185-86 (1966) (declining to review court of appeals’ “assessment of the record” in
determining that admitted Speech or Debate material “was prejudicial” as to challenged counts,
without suggesting that such an assessment should not be performed to determine a new trial
motion); id. at 188 (Warren, C.J., joined by Brennan, J., and Douglas, J., concurring in part and
dissenting in part) (“It is my conclusion that the Court of Appeals erred in determining that the
evidence concerning the speech infected the jury's judgment on the substantive counts. The
evidence amply supports the prosecution’s theory and the jury's verdict on these counts . . . .”).
Here, where the jury was never shown the improperly redacted portions of the Reconsideration
Versions, or had them described, the Government’s case cannot be said to in any way “rely on”
those portions, even assuming arguendo both that those portions had revealed legislative acts and
the jurors had become aware of them. See United States v. Brewster, 408 U.S. 501, 512 (1972)
(“Johnson thus stands as a unanimous holding that a Member of Congress may be prosecuted
under a criminal statute provided that the Government’s case does not rely on legislative acts or
the motivation for legislative acts.”); cf., e.g., United States v. Williams, 644 F.2d 950, 952 (2d
Cir. 1981) (affirming denial of motion to dismiss indictment where material covered by the Speech
or Debate Clause “constituted an insignificant portion of the evidence presented to the jury and
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was not a factor in the issuance of the indictment”); see also United States v. Renzi, 651 F.3d 1012.
1029 (9th Cir. 2011) (“[T]he mere fact that some ‘legislative act’ evidence was presented to the
grand jury cannot entitle Renzi to dismissal. That would contravene the [Supreme] Court’s
example in Brewster and Johnson—two cases in which the Court decided that dismissal of the
indictment was not warranted even though each Member was indicted by grand juries to whom
the Government had presented ‘legislative act’ evidence.”).

      In sum, no action is required due to all parties’ inadvertent oversight allowing the nine
Reconsideration Version exhibits to be loaded onto the laptop provided to the jury.

                                                      Respectfully submitted,

                                                      DAMIAN WILLIAMS
                                                      United States Attorney

                                              By:     s/ Paul M. Monteleoni
                                                      Eli J. Mark
                                                      Daniel C. Richenthal
                                                      Paul M. Monteleoni
                                                      Lara Pomerantz
                                                      Catherine E. Ghosh
                                                      Assistant United States Attorneys
                                                      (212) 637-2431/2109/2219/2343/1114
                                                      Christina A. Clark
                                                      Special Assistant United States Attorney
                                                      (202) 307-5191

Enclosures

cc:    (by ECF)

       Counsel of Record
